                 IN THE UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

BARUCH WINTERS,                                        )
                                                       )
                       Plaintiff,                      )
                                                       )
       v.                                              )       Case No.: 18-cv-04154
                                                       )
GLOBAL EXPERIENCE SPECIALISTS, INC.                    )
                                                       )
                       Defendants.                     )

                                    PETITION FOR REMOVAL

       Petitioner, GLOBAL EXPERIENCE SPECIALISTS, INC., ( “GES”), by its attorneys, Adrian

Mendoza and Edward R. Sherman of Lillig & Thorsness, Ltd. and pursuant to 28 U.S.C. §1441(b),

seeks removal of this action from the Circuit Court of Cook County to the United States District

Court for the Northern District of Illinois. In support thereof, Petitioner states as follows:

       1.      GES is named as a Defendant in an action styled Baruch Winters v. Global

Experience Specialists, Inc., Civil Action Number 2018 L 3776. This action was filed in the Circuit

Court of Cook County on April 13, 2018. See Complaint attached hereto as Exhibit A. Plaintiff

alleges that on May 17, 2017, GES negligently performed certain acts while working at the premises

commonly known as McCormick Place, which resulted in Plaintiff suffering personal injuries. See

Exhibit A generally.

       2.      The Complaint does not allege the citizenship of Plaintiff, although it does allege that

the amount in controversy is in excess of $100,000.00 in compensatory damages. See Exhibit A.

       3.      GES was first served with the Summons and Complaint on May 1, 2018.

       4.      GES is a corporation organized under the laws of the State of Nevada with its
principal place of business in Las Vegas, Nevada. GES is wholly owned subsidiary of Viad Corp.
which is a Delaware corporation with its principal place of business in Phoenix, Arizona. See
Affidavit of Jennifer Kaleta attached hereto as Exhibit B.
        5.      On May 25, 2018, GES filed and served Plaintiff with a Request to Admit Facts

pursuant to Illinois Supreme Court Rule 216 seeking admission from Plaintiff regarding his place of

citizenship.

        6.      On June 7, 2018, Plaintiff served his response to the request to admit which

established that Plaintiff is a citizen of Illinois. See Exhibit C.

        7.      Diversity of citizenship exists because Plaintiff is an Illinois citizen and GES is a

Nevada corporation with its principal place of business in Nevada. The amount in controversy

exceeds $75,000 exclusive of interest and costs. This is a civil action for which the United States

District Court has original jurisdiction pursuant to 28 U.S.C §1332.

        8.      Pursuant to the provisions of 28 U.S.C. § 1441 et seq., GES has the right to remove

this action from the Circuit Court of Cook County to the United States District Court for the

Northern District of Illinois.

        9.      This petition for removal is timely and that it is being filed within 30 days of GES’s

receipt of Plaintiff’s response to the request to admit. The request to admit constitutes a “paper from

which it may first be ascertained that the case in one which is or has become removable within the

meaning of 28 U.S.C. §1446(b).” In addition, this petition for removal is being filed within one year

from the date the complaint was filed thereby satisfying the requirements of 28 U.S.C. §1446(b).

Therefore this petition for removal is proper pursuant to 28 U.S.C. §1446(b). Notice of this petition

for removal has been filed with the Clerk of the Court of Cook County and notice has been given to

Plaintiff pursuant to 28 U.S.C. §1446(d). See copy of Notice of Petition for Removal, Exhibit D.

        10.      Pursuant to 28 U.S.C. §1446, GES is filing with this pleading a copy of all pleadings


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provided to it by Plaintiff’s counsel in the Cook County action. See Group Exhibit E, Pleadings filed

in Baruch Winters v. Global Experience Specialists, Inc., Civil Action Number 2018 L 3776.

       Wherefore, Petitioner, GLOBAL EXPERIENCE SPECIALISTS, INC., prays that this

Honorable Court accept jurisdiction of this action and place it on this Court’s docket for further

proceedings, the same as though this action had originally been instituted in this Court.

                                      Respectfully submitted,

                                      GLOBAL EXPERIENCE SPECIALISTS, INC.

                                      By: /s/Adrian Mendoza________________

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